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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


 CORTNEY KAISER, individually, and as mother
 and next friend of C.B., a minor,

                              Plaintiffs,
        v.                                                        OPINION and ORDER

 THE MONROE CLINIC, INC., JAMES J. EHLE, and                            19-cv-315-jdp
 THE INJURED PATIENTS AND FAMILIES
 COMPENSATION FUND,

                              Defendants.


       This is a medical malpractice case involving allegations of the negligent delivery of a

baby. The court has already held the pretrial conference but gave the parties one more

opportunity to raise objections to the voir dire, the verdict form, and the jury instructions.

Plaintiff Cortney Kaiser has filed an objection to the court’s instruction on medical negligence,

Dkt. 287, and she also proposed additional voir dire questions, Dkt. 288. Defendants James

Ehle and the Monroe Clinic have filed objections to the verdict form and the damages

instructions. Dkt, 286. The Injured Patients and Families Compensation Fund has filed a

request that it be permitted to give its own opening and closing statements. Dkt. 283.

       The other parties don’t object to the Fund’s motion to give its own opening and closing

statements, so that motion is granted. The court expects both sets of defendants to confer

before trial to ensure that they are not covering the same ground. At the July 21, 2021 pretrial

conference, the court will consider the issue of time limits on opening and closing statements

to prevent unfairness to Kaiser.

       Kaiser objects to the following paragraph in the court’s draft post-trial instructions:
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                 If you find from the evidence that more than one method of
                 performing the delivery was recognized as reasonable given the
                 state of medical knowledge at that time, then Ehle was at liberty
                 to select any of the recognized methods. Ehle was not negligent
                 because he chose to use one of these recognized methods rather
                 than another recognized method if he used reasonable care, skill,
                 and judgment in administering the method.

Dkt. 260-3. This language comes from Wisconsin’s pattern jury instructions. See WIS JI-CIVIL

1023. Kaiser says that the language isn’t applicable to this case because the parties aren’t

debating the validity of multiple methods of delivery. Defendants included the language in

their proposed instructions, but Kaiser didn’t object until now, so defendants haven’t had an

opportunity to be heard. So the court will take this issue up at the conference scheduled for

July 21, 2021.

       The court has incorporated some of Kaiser’s proposed changes to the voir dire questions.

An amended draft is attached.

       Defendants object to Question 1 and Question 2 on the verdict form:

                 QUESTION 1: Was either defendant negligent?

                 James Ehle:                             (Yes or No)

                 Monroe Clinic (through one             or   more     of   its   nurses):
                 ________________ (Yes or No)

                 If you answered “Yes” for both defendants in Question 1, answer both
                 parts of Question 2. If you answered “Yes” for one defendant in Question
                 1, answer Question 2 for that defendant. If you answered “No” for both
                 defendants in Question 1, do not answer any more questions.

                 QUESTION 2: Was either defendant’s negligence a cause of
                 injury to C.B.?

                 James Ehle:                             (Yes or No)

                 Monroe Clinic (through one             or   more     of   its   nurses):
                 _______________ (Yes or No)



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       Defendants don’t identify anything that is either incorrect or confusing about these

questions. Instead, defendants object on the ground that the court grouped the questions by

topic (negligence and causation) rather than by each defendant. In other words, defendants say

that there should four numbered questions instead of two, with one question each addressing:

(1) the Clinic’s negligence; (2) injuries caused by the Clinic; (3) Ehle’s negligence; and

(4) injuries caused by Ehle. Defendants contend that the verdict form’s current structure

“requires the jury to deliberate in the negligence of each jointly.” Dkt. 286, at 2.

       The court isn’t persuaded that the verdict form is prejudicial to defendants. The court’s

preference is to make both the verdict form and the jury instructions concise and clear, without

any unnecessary redundancy. The verdict form’s current structure allows the court to provide

jury instructions that follow the flow of the verdict form without repeating similar instructions.

The verdict form doesn’t direct the jury to consider each defendant’s negligence jointly, except

in Question 3, which asks the jury to apportion negligence between the two defendants, in

accordance with Wisconsin law. Defendants don’t object to Question 3, so the court sees no

need to modify Question 1 or Question 2.

       To address defendants’ concern, the court has added language to the instructions on

negligence and causation. Specifically, the court has added the sentence “You must consider

the negligence of each defendant separately” to the negligence instruction and the sentence

“You must determine separately whether each defendant caused an injury to Colton” to the

causation question. An amended draft is attached.

       Defendants also object to several instructions on damages. First, defendants object to

the prefatory statement directing the jury how to proceed if they “decide for” Kaiser or the




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defendants. 1 Defendants say that the language is inappropriate because “‘[d]eciding for’ either

defendants or Kaiser is not the role of the jury.” Dkt. 286, at 3. But the language used by the

court comes from the Seventh Circuit Pattern Instructions 1.31 and 13.6.1, and this court has

used a similar instruction many times. The court sees no prejudice to either side.

          Second, defendants object to an instruction on future damages because Kaiser hasn’t

offered any evidence of life expectancy. But the court rejected this view at the final pretrial

conference and in the final pretrial conference order. See Dkt. 282, at 4 (“Simms is free to

explain the reasons why he believes that Colton will have a reduced life expectancy.”). So this

objection is overruled.

          Third, defendants object to an instruction on past medical expenses because Kaiser

failed to adequately disclose the basis for those damages. But the court already rejected this

contention as well. See Dkt. 259, at 40–41. Alternatively, defendants ask that the word

“negligent” be added to the sentence “You must still determine whether the health care services

were provided for the injuries sustained by Colton as a result of the treatment by defendants.”

The court will make that revision, so that the sentence will read, “You must still determine




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    The full passage states:

                 If you decide for defendants on the question of liability (that is,
                 if you answer “No” to Question 1 or Question 2 for both
                 defendants), then you should not consider the question of
                 damages.

                 If you decide for Kaiser on the question of liability (that is, if you
                 answer “Yes” to both Question 1 and Question 2 for one or both
                 defendants), then you must determine what amount of damages,
                 if any, Colton and Kaiser are entitled to recover. Kaiser must
                 prove her and Colton’s damages by a preponderance of the
                 evidence.


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whether the health care services were provided for the injuries sustained by Colton as a result

of the negligent treatment by defendants.”

       Fourth, and finally, defendants object to an instruction on life expectancy and mortality

tables, contending that it is inconsistent with the court’s ruling that limits the testimony of

Gary Yarkony on the issue of life expectancy. Kaiser hasn’t had an opportunity to respond to

defendants’ argument, so the court will take it up at the July 21 conference.



                                             ORDER

       IT IS ORDERED that Injured Patients and Families Compensation Fund’s motion for

permission to present opening and closing statements (called “motion for reconsideration” on

the docket), Dkt. 283, is GRANTED.

       Entered November 4, 2020.

                                             BY THE COURT:

                                             /s/
                                             ________________________________________
                                             JAMES D. PETERSON
                                             District Judge




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